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                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION


                                                                             MDL 2724
 IN RE: GENERIC PHARMACEUTICALS                                             16-MD-2724
 PRICING ANTITRUST LITIGATION




 This document relates to:

 State of Connecticut et al. v. Aurobindo Pharma         No. 2:17-cv-03768 (CMR) (E.D. Pa.)
 USA, Inc., et al.                                       No. 3:16-cv-02056 (VLB) (D. Conn.)

 State of Connecticut et al. v. Teva Pharmaceuticals     No. 2:19-cv-02407 (CMR) (E.D. Pa.)
 USA, Inc., et al.                                       No. 3:19-cv-00710 (MPS) (D. Conn.)

 State of Connecticut et al. v. Sandoz, Inc., et al.     No. 2:20-cv-03539 (CMR) (E.D. Pa.)
                                                         No. 3:20-cv-00802 (SRU) (D. Conn.)


              DEFENDANTS’ REPLY MEMORANDUM IN SUPPORT OF
             EMERGENCY MOTION FOR A STAY PENDING MANDAMUS

       The States’ opposition fails to address that, just six months ago, the Second Circuit granted

a stay in a similar procedural posture in In re: Google Digital Advertising Antitrust Litig., MDL

No. 3010, 2023 WL 9316534 (J.P.M.L. Aug. 3, 2023), and left that stay in place until it resolved

the mandamus petition. There is no reason for the Panel to deny a stay and force the Third Circuit

to stay the Panel’s remand order while that court considers whether the remand of the State Actions

is lawful. The Panel can, and should, provide that relief now.

       The stay factors strongly favor granting Defendants’ requested relief. First, there is a

“significantly better than negligible” likelihood that Defendants will prevail on the merits. In re

Citizens Bank, N.A., 15 F.4th 607, 616 (3d Cir. 2021). Tellingly, the States ignore this lower

standard for stay relief in mandamus cases within the Third Circuit, instead focusing solely on


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what the Panel decided, rather than what the Third Circuit is likely to conclude. Regardless of the

standard, the States have failed to explain why the presumption against retroactivity should not

apply here given that “the procedures affected” by the Venue Act—i.e., the transfer of the State

Actions into the MDL—“have already transpired,” which triggers the presumption in the Third

Circuit. Mathews v. Kidder, Peabody & Co., 161 F.3d 156, 161 n.8 (3d Cir. 1998). And the

Panel’s decision to apply the waiver standard that applies to remands under Section 1407, rather

than the standard for venue objections under Section 1406, is a clear legal error given that a Section

1407 remand is indisputably not warranted here, as pretrial proceedings are still ongoing.

       Second, there is a significant risk of irreparable harm if the remand order is not stayed.

Despite the States’ assertions, there is a risk that the Third Circuit could conclude it lacks

jurisdiction over Defendants’ mandamus petition if the State Actions proceed in the District of

Connecticut. Indeed, in the sole appellate authority on which the States rely, a judge dissented on

the ground that the Panel’s remand order had deprived the court of appeal of jurisdiction. See In

re Food Lion Inc., 73 F.3d 528, 533 (4th Cir. 1996) (Butzner, J., dissenting). The Third Circuit

could similarly conclude that an open jurisdictional issue counsels against mandamus relief, or that

the Venue Act would bar the Panel from effectuating any mandamus relief granted by the Third

Circuit. Any of these outcomes would deprive Defendants of meaningful appellate review. And

even if the Third Circuit retained jurisdiction, returning the case to the MDL court after the case

proceeded in the District of Connecticut would raise a host of vexing questions about whether and

how to unwind steps that took place in the interim. Only a stay would prevent irreparable injury.

       Third, the balance of hardships and public interest favor a stay. Unlike in Google, the

States waited more than ten months after the passage of the Venue Act to move for remand in this

case. They cannot credibly contend that an additional, smaller delay—which, in Google, amounted



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to fewer than four months—will prejudice them in any way. It is far better to preserve the status

quo, save judicial resources in the District of Connecticut, and avoid the complications that would

accompany any attempt to reverse a remand absent a stay.

                                          ARGUMENT

I.     DEFENDANTS HAVE SATISFIED THE THIRD                               CIRCUIT’S       MERITS
       STANDARD FOR STAYS IN MANDAMUS CASES.

       The States repeatedly assert that Defendants “cannot show that they have a strong

likelihood of success.” States’ Opp. to Defs.’ Mot. to Stay at 1, ECF No. 532 (“Opp.”); see id. at

4. While Defendants would satisfy that standard, that is not the standard the Third Circuit applies.

In the Third Circuit, a “stay applicant need show only a reasonable chance, or probability, of

winning mandamus relief.” In re Citizens Bank, 15 F.4th at 616 (quotation marks omitted). That

standard is satisfied “even if the ultimate likelihood of granting the mandamus petition is below

50 percent, so long as it is significantly better than negligible.” Id. (emphasis added). This is a

less demanding standard than the Panel applied when it denied a stay in Google, and it alone

demonstrates that the Panel cannot simply follow its decision in Google when evaluating

Defendants’ stay request.

       The States completely disregard the Third Circuit’s lower threshold for satisfying the first

stay factor in mandamus cases. None of their cited cases address a stay pending mandamus relief,

much less in the Third Circuit. And Defendants readily satisfy the Third Circuit’s lower standard,

for at a minimum, they have a “significantly better than negligible” chance, id., of prevailing on

one or both of the two issues presented in their mandamus petition: (1) that the presumption against

retroactivity applies to the Venue Act, and thus the Act does not require remand of cases already

transferred into MDLs; and (2) that the standard for waiver of venue objections under Section




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1406, not the standard for waiver of the right to remand under Section 1407, applies to the States’

motion.

       A.      The Venue Act Does Not Apply Retroactively.

       The States spill much ink addressing arguments that they contend this Panel “already

considered,” “correctly noted,” “appropriately concluded,” or “appropriately rejected.” Opp. at 4-

6. But the States are asking and answering the wrong question, which is not what this Panel has

already held, but what the Third Circuit is likely to conclude. The States have almost nothing to

say about that inquiry, except to assert that Defendants “provide[] no reason to think that the Third

Circuit will find otherwise.” Id. at 5. Defendants have explained at length, however, why there is

a “significantly better than negligible” chance that the Third Circuit will grant mandamus relief.

In re Citizens Bank, 15 F.4th at 616. The States cannot brush aside those arguments with a mere

conclusory statement.

       Most significant, the States do not dispute the Third Circuit’s clear holding that “procedural

rules are subject to the presumption against retroactivity in a case in which the procedures affected

have already transpired.” Mathews, 161 F.3d at 161 n.8 (emphasis added); see also Schoen v.

Mountain Producers Corp., 170 F.2d 707, 714 (3d Cir. 1948) (new procedural rules could apply

“only to the extent that they relate to procedural steps which had not been taken in those actions

prior” to the rules’ enactment). As Defendants have explained, Mot.14-15, the procedures affected

by the Venue Act are the transfers that centralized the State Actions in the MDL court, which

occurred years before the Venue Act became law. The States entirely fail to address this argument.

They neither dispute that the procedures at issue have already occurred nor attempt to explain why

the presumption of retroactivity is nonetheless inapplicable.

       The Panel acknowledged that the presumption against retroactivity applies to procedural

rules “where the procedures affected have already occurred.” Remand Order at 6, ECF No. 526.
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The Panel reasoned that “[t]ransfer under Section 1407 does not fit into this exception, however,

because such transfers are for pretrial purposes only and cases transferred are always subject to

remand.” Id. But while an action transferred into an MDL will always be subject to an eventual

remand, it is not subject to remand at any time, simply upon one party’s request. As the Panel

itself observed, Section 1407 creates a “default” rule “that an action is remanded to its transferor

court at the conclusion of pretrial proceedings,” and the Panel acknowledged that the State Actions

are “not approaching trial or even the conclusion of pretrial proceedings.” Id. at 3-4 (emphasis

added). The Panel’s own rules, moreover, provide that it “is reluctant to order a remand absent

the suggestion of the transferee judge.” J.P.M.L. R. 10.3(a). Not only has the transferee court not

“suggest[ed]” a remand here, id., it expressed significant reservations regarding remand. Status

Order at 4, ECF 520 at 4. It is beyond dispute that, in these circumstances, a remand under Section

1407 would be unwarranted.

       The Panel’s remand in this case therefore rested entirely on its determination that the MDL

court is no longer a proper venue in light of the Venue Act. And it is only possible to make that

determination by concluding that the Venue Act retroactively renders invalid the original transfer

to the MDL court, which gave the MDL court the statutory mandate to conduct consolidated

pretrial proceedings. That application of a new rule to a procedure that has already taken place

squarely contradicts Third Circuit law. Because the Panel’s holding nullifies transfers of the State

Actions to the MDL that have “already transpired,” Mathews, 161 F.3d at 161 n.8, it violates the

presumption against retroactivity.

       B.      The States Waived Their Venue Objection.

       The Panel also erred in applying the Section 1407 standard for waiver of the right to

remand, rather than the Section 1406 standard for waiver of venue objections. Section 1407 cannot

govern the States’ remand motion because remand under Section 1407 is clearly not warranted at
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this time—an indisputable fact that the States do not address in their opposition. As discussed

above, the Panel itself acknowledged in its opinion that Section 1407 creates a “default” rule “that

an action is remanded to its transferor court at the conclusion of pretrial proceedings,” and that the

State Actions are “not approaching trial or even the conclusion of pretrial proceedings.” Remand

Order at 3-4, ECF No. 526.

       Because a transfer is unavailable under Section 1407, the only procedural basis for a

transfer to the District of Connecticut at this time is Section 1406(a), which permits transfer from

an improper venue to a proper one. The waiver standard of Section 1406(b), which requires that

venue objections be raised “in a timely and sufficient manner,” therefore governs the States’

transfer request. Because the States waited ten months before objecting to venue, while continuing

to litigate in the MDL court, their objection is waived. Indeed, the States do not dispute that they

waived their objection to venue if Section 1406’s waiver standard governs.

       At a minimum, Defendants have shown that there is a “significantly better than negligible”

chance of mandamus from the Third Circuit given the Panel’s erroneous application of the Section

1407 standard instead of the Section 1406 standard. Once again, the States ignore the showing

needed to obtain a stay, myopically focusing on what this Panel already “considered, and rejected”

and offering only the conclusory statement that “the Third Circuit will be unlikely to reverse” the

Panel’s decision. Opp. at 6-7.

II.    DEFENDANTS ARE LIKELY TO SUFFER IRREPARABLE HARM ABSENT A
       STAY.

       The Third Circuit has held that “an erroneous transfer may result in judicially sanctioned

irreparable procedural injury” for which mandamus is appropriate. In re McGraw-Hill Glob. Educ.

Holdings LLC, 909 F.3d 48, 56 (3d Cir. 2018) (quotation marks omitted). That is because, when

“a transfer of a case has been completed, the transferor court—and the appellate court that has

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jurisdiction over it—lose all jurisdiction over the case.” In re United States, 273 F.3d 380, 383

(3d Cir. 2001) (quotation marks omitted). Absent a stay, there is a risk that the Third Circuit will

conclude it lacks jurisdiction over Defendants’ mandamus petition, thereby preventing it from

reviewing the Panel’s remand order.

       The States insist that Defendants’ right to mandamus review will not be affected if their

cases proceed in the District of Connecticut, but the authority on which they rely demonstrates the

risk that a remand will nullify Defendants’ pending mandamus petition. The States cite In re Food

Lion, 73 F.3d 528, 533 (4th Cir. 1996), for the proposition that the Third Circuit would retain

jurisdiction over the petition and could order the Panel to “retransfer” the cases to the MDL court.

The States ignore, however, that one of the three judges dissented, concluding that “[w]e have no

jurisdiction over this case because of the Judicial Panel’s remand order.” Id. at 534 (Butzner, J.,

dissenting). The Third Circuit, considering this issue of first impression, could agree with the

dissenting judge in In re Food Lion and find that remand to the District of Connecticut deprives

the court of jurisdiction. At the least, the Third Circuit could conclude that an unresolved

jurisdictional question is a threshold reason not to grant mandamus, effectively depriving

Defendants of appellate review.

       The Panel concluded in Google that it would retain authority to transfer the case back to

the MDL court even after a remand, and that if the court of appeals were to “find error in the

remand order, its order would be directed to the Panel, not to a district court.” Order Denying Stay

at 2, Google, No. 3010 (J.P.M.L. Aug. 3, 2023), ECF No. 261. But the Venue Act could stand as

an independent obstacle to such a transfer. As Defendants pointed out in their stay motion, the

States in Google argued that the Venue Act “deprives the JPML of authority to transfer any state

enforcement action alleging federal antitrust claims.” States’ Mot. for Remand at 8, Google, No.



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3010 (J.P.M.L. Feb. 27, 2023), ECF No. 229-1. Notably, the States did not disavow that argument

in their opposition here. There is, therefore, a risk that the Panel would be powerless to comply

with a writ of mandamus ordering transfer back to the MDL court.

        Even if the Third Circuit retained jurisdiction to order the State Actions returned to the

MDL court, “there is a substantial chance” that the parties could not “be returned to the positions

they previously occupied.’” Jock v. Sterling Jewelers, Inc., 738 F.Supp.2d 445, 448 (S.D.N.Y.

2010). If the State Actions were disentangled from the MDL, then litigated independently in the

District of Connecticut, then returned to the MDL on the ground that they never should have been

remanded, it would raise a host of difficult questions about whether and how to unwind the

procedural and substantive steps that occurred in the District of Connecticut in the interim. It

would also throw the ongoing MDL into disarray given that, as Judge Rufe explained, the

bellwether State Action “is fully integrated into, and a key part of, the bellwether proceedings.”

ECF No. 2732 at 5 (Dec. 7, 2023). And it would deprive Defendants of the efficiencies of

coordinated proceedings, notwithstanding Judge Rufe’s description of the benefits of

“streamlining” these exceptionally complex proceedings and her conclusion that “there is still

much that can be accomplished through coordinated pretrial proceedings.” Id. at 3.

        A stay will unquestionably preserve Defendants’ right to mandamus review and avoid a

host of complications stemming from transferring this case while the propriety of the Panel’s

remand order is on review. Contrary to the States’ argument that a “stay would only serve to

interject confusion and uncertainty,” Opp.10, the opposite is true: A stay would preserve the status

quo and facilitate orderly resolution of these proceedings. The Panel should follow the example

of the Second Circuit in Google and enter a stay pending the resolution of Defendants’ mandamus

petition.



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III.   THE BALANCE OF HARDSHIPS AND PUBLIC INTEREST FAVOR A STAY.

       The States identify no harm that would result from a stay. Even if the mandamus petition

is denied, a stay would only briefly delay the commencement of proceedings in the District of

Connecticut. In Google, the Second Circuit issued its decision on the mandamus petition in fewer

than four months. See Order Denying Pet. for Writ of Mandamus, In re Google LLC, No. 23-910

(2d Cir. Oct. 4, 2023), ECF No. 101. The States cannot credibly claim such a delay would cause

them any prejudice given that they waited more than ten months after the passage of the Venue

Act to file their remand motion. Particularly because the remand would itself delay the litigation

by taking the cases away from a judge who has ably presided over these cases for years, the balance

of hardships and public interest favor a stay.

                                         CONCLUSION

       For the foregoing reasons, Defendants respectfully request that the Panel grant Defendants’

emergency motion for a stay pending mandamus.




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Dated: March 4, 2024



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